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IN THE UNTTED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO 1
Case No. 2005-WH-377 {BNB) 2

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DEPOSITIGN OF; JOHN BELLANTONIO November 4, 2005 4

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By Hs. Holmes oe

By Mr. Juurs 166

PARK COUNTY, a public entity of the State of Colorado and its governing board3 THE PARK COUNTY BOARD OF COUNTY

COMMISSIONERS; PARK COUNTY SHERIFE'S OFFICE, a public entity of the State of 1Olora
his official capacity as Sheriff of Park County, Colorado; MONTE GORE, indivillally 6-A

Park County Sheriff's Department; VICKIE PAULSEN, individually and in her offl2ial

INITIAL DEPOSITION EXHIB
Continuation of Exhibit 6, Park 2000 75

(Original exhibits attached to original deposition; copy

County, Colorado; JAMES BACHMAN, M.D., individually and in his official capacl3y asexhibits included in continuing exhibit file; copies provided to counse

 

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TAKEN PURSUANT TO NOTICE AND AGREEMENT on behalf of the 18
Plaintiff at 824 Castello, Fairplay, Colorado 80440 at 8:31 193
a.m. before Theresa A. Coffman, Federal Certified Realtime 26
Reporter, Registered Professional Reporter and Notary Public 21
within Colorado, 22
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COFFMAN REPORTING 303.893.0202

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APPRARANCES 1
For the Plaintif &: LLOYD €, KORDICK, ESQ.
Colorado Springs,Colorade $0903 3
JOSBPH J. ARCHULETA, ESQ.

1724 Ogden Street

REQUESTED PORTICNS OF TESTIMONY: PAGE
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* SUBJECT TO CONF25ENTIALITY DESIGNATIONS *

11/4/2005 Bellantonio, John

WHEREUPOW, the within proceedings were taken

802 Soutpursuant to the Federal Rules of Civil Procedure:

JOHN BELLANTONIO,

dLaw Ohaving been first duly sworn to state the whole truth, was

Denver,5Colorexamined and testified as follows:

For the Defendants ANDREW D. RINGEL, ESQ. 6 EXAMINATION
Park County, Park Hali & Evans, LLC County Board of 1125 177h StrBY MR, KORDICK;
commissioners, Park Suite 600 County Sheriff's Office, Denver, Colorad® 9020 Q. Sir, could you please state your full name.
Wegener and Gore: 9 Ay John frank Bbellantonio.
STEPHEN A, GROOME, ESQ, PIG. Bo a. Mr. Bellantonis, could you please explain

501 Main Street

For the Defendant SARA HOLMES, ESQ. 12
Paulsen: Berg Hill Greenleaf & Ruscitti LLP 13
Boulder, Colorado 80302 14

Fer the Defendant ANDREW W. JURS, ESQ. Bachman:
400 South Colorado Boulevard 16
Glendale, Colorado 80246 1?
Also Present: None 1a
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Fairplay,llolorfor the record what your educational background is,

starting with high school and the year you graduated from
high school,rl Street

A, I graduated from Valley Stream High School

Johnl5n Mcin Valley Streain, New York in 1966, attended Adelphi

SuUniversity, receiving a bachelor of arts in sociology in
1970, That's about it,

Qa. Wow, let me take your work history. I don't
need to know about jobs you had for six months or
anything like that, but just your general work history
from 1970,

{At this tine Mr. Archuleta left the
deposition room.}

A Do you want specific years and stuff like

that?

Paulsen’s A-18 '

 

 

 

 
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worked from 2001 to this time, did the number of bunks
continue to increase in D Pod, or do you remember?

MR, RINGEL: Object ta the form and the
foundation.

A. I remember a gradual increase in bunks, yes,
and alse there was bedding made available with mattresses
on the floor.

Qa. (HY MR, KORPICK) Okay. Were you aware
of ~- are you aware of the ACA standards? Are you
generally aware of what those are?

WR, RINGEL: Object to the form and the
foundation.

A, There are so inany ACA standards, and 1
forget the exact amount, that cover just about every
aspect of correctional environment. I'm aware of many of
the standards in a general sense.

QO. (BY MR, KORDICK) Okay. De you know what
ACA standards -- is that the golden rule in the -- I
guess 1 could call it the industry now because it's
privately operated in many cases. But is that the golden
rule in the -- should I call it detention business?

MR. RINGEL: Object to the form and the

foundation,
A, The ACA standards are the goals that all
correctional facilities ~~ F shouldn't say all -- but

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most correctional facilities -ry to attain,

Q. Now, some correctional or government
entities actually adopt them as their regulations, and
some don't, correct?

MR. RINGEL: Object to the forin and the
foundation.

A. In my experience, the regulations were
guided by the ACA standards, and the regulations were
written to conform with ACA regulations. And then
practice -- the actual practice would be verified against
the written standards and regulations to show that
compliance was in accord with ACA standards.

a. {BY MR, KORDICK) Would you look at Exhibit
5. It's a smaiil exhibit. I think it's right here.

ay Okay.

Q. Yeah, You've got it in your hand there.
With reference to this particular exhibit, this was
produced by Park County as a standard Park County
Sheriff's Office policy and procedure manual standard
that was effective on November 1, 2000, and it references
a Standard 3-4128, which is an ACA skandard, and it
requires that the inmates be housed in sleaping areas
that are safe, clean, praper lighting and heating, and it
is the policy of the sheriff's office that inmates are

housed in cell or dormitory sleeping areas that provide

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at least $0 square feet of living space per occupant;
proper lighting, beth artificial and natural, Lighting
in inmate housing units is at least 20 foot-candles alt
desk level and in personal grooming areas.

Was this standard that had been adopted by
the county, was that followed with reference,
particularly, to the D Ped or any of the other pods?

MR. RINGEL: Gbject to the form and

foundation,

A. I don't have the exact measurements, but I'm
sure that -- I'm sure that this standard was not
followad.

Q. {BY MR. KORDICK} It's been represented to

ws the square footage, up and down, of D Pod is 1,475
feet, and -- 1,475 square feet -~ I'm sorry -- and at 80
square feet per inate, that would only allow 18,3
inmates in this particular D Pod, If that were the case,
would if be true that the county was not following their
own standard?
MR. RINGEL: Object to the form and the

foundation.

he Well, it's apparent to me that the standard
was not being Followed,

a. (8¥ MR. KORDICK) Were you ever told or

advised as to what the design capacity was for D Fod as

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far as the number of inmates?
MR. RINGEL; Object to the form and the
foundation,

a. There were no capacities delineated to me.
It was an open-ended capacity. Not design capacity but
operational capacity was an open-ended number.

Q. (BY MR. KORDICK]) So operationally, if you
had 70 or 80 people, Lhere was no cap or limitation on
Chat?

A. Not to my knowledge,

Ma, RINGEL: Object to the form and the
foundation.

a, (BY BR, KORDICK} What about design
limitations? Were you ever advised there were design
limitations on 2 Ped when it was built?

MR. RINGEL: Object to the form and the
foundation.

A, I was never advised as to design
limitations. My own observation would indicate that the
mit was designed for approximately 18 people, and that
Was ~- or the pod was designed for 18 people, and I base
that assumption on the seating capacity at the tables
that were provided for eating. It appeared that there
were 18 -- there were three tables that seated six each.

It appeared that the initial design -- this is only my

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foundation.
A. During the distribution of medications,
which involved many, many inmates -- this doesn't only

regard the D Pod, This involved all inmates housed
there, The deputy was required to roll a medication cart
to the entrance of the pod door, announce medications,
and thea distribute the medications from bulk containers.
For an example, if you were given X medication, you

know -- if Joe Smith was issued -- I can't think of
something right now, whatever -- brand X or medication X
in dosage 100 milligrams, the depuly was required te pull
that medication from a bulk container, sometimes divide
that medication in halves or thirds to administer to the
individual, and then record that.

There was a lot of room, in my opinica, for
errer -~ not intentional, just for error —- which could
have devastating results to the individuat, liability
coming back to the deputy and liability coming back to
the jail.

I checked with the person rho was the head
nurse, the head medical administrator at Buena Vista who
had retired and was then working for the American
Correctional Asseciation monitoring their standards, and
Yt asked her about that, and she indicated that that was

het the correct way to do it, which verified what I had

Al

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already believed, that the medications should be packaged
by the nurse, and the deputy should then distribute it
and check to make sure that it's taken properly.

And I brought that up to the nurse and was
teld that it was physically impossible. She didn't have
time to do it. T pursued the issue and brought it up to
the captain, and it was subsequently corrected.

Q. {BY MR. KORDICK) Okay, So that was the
modified procedure that was in effect at the time that my
client was there?

A. Correct.

MR, RINGEL: Object to the form and the
foundation.

a. (BY HR. KORPICK) Now, going back to Exhibit
Number 5, it requires that beds be made upon rising and
that the beds -- there's a provision in Lhe other -- not
in this prevision, but another provision that requires
that the beds be off the ground. Were the beds actually
on the floor, the mattresses en the floor, when there was
an overload situation?

MR. RINGEL; Object to the form and the

foundation,
A, We routinely had mattresses aon the floor,
a. {BY MR. KORDICK) Pid the prisoners that

were in the upper area, did they have a wastebasket in

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the upper area?

A, J don"t recall.

0. Mr. Gore has testified that the only waste
area was a large bucket in the lower area, that Chere was
no wastebasket in the upper area. Would you disagree
with that or agree with it?

MR. RINGEL; Object te the form and the
foundation.

A. I don't recall what provisions were on the
upper floor for disposal of waste. I do remember large
containers on the lower fleor, And not that I think
about it, I think the only formal or for-real container
was on the lower floor,

Q. {BY HR, KORDICK) When prisoners were
sleeping in the upper area -- which was designed as a
sleep area; is that right? The upper area was designed
as a sleep area?

A. That's correct.

Q. When they were sleeping, of course, you were
there in the swing shift, if they had colds or blew their
nose, would they -- do they have something to blow their
hose on ox spit into?

MR, RINGEL: Object Lo the Form and the
foundation.

A. Inmates were given -- or detainees were

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given rells of toilet paper each, Each. Pretty much as
much as they needed,

Q. (BY MR. KORDICK} When they did cough or
plow their nose, did they place that, in your
observation, next to their bed while they were sleeping?

MR. RINGEL: Object to the ferm and the
foundation,

Aa I don't remember ever seeing some -- you
know, I don't remember nolicing anybody blowing their
nose or coughing into tissue and then putting it in their
mattress, but I de know that when I conducted shakedawns
and when ZI went through the area, it was very common to
find soiled tissue paper stuffed under the mattresses and
about the mattresses.

Go. {BY MR. KORPICK) Okay. And around the area
ef the mattresses?

A, Yes,

MR. RINGEL!: Object to the form.

Q. {BY MR, KORDICK}) I'd like to talk to you
about the ACA standards adopted by the county. If there
Were a standard of one toilet per 12 inmates, 50 inmates
would have far exceeded that, wouldn't itt

MR. RINGEL: Cbject to the form and the
foundation.

A. Yes.

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individuals who worked for the INS?

A. Yes, I did,
QO. And what are the names of those individuals?
A, I don't remember last namés. There was a

Ben and a Dan.

°. And what was your understanding of the
positions that Ben and Dan held with the INS?

A. They were field agents.

a. And what does a field agent for the INS do,
as far as you understand?

A. They assume custody of individuals and
arrange for their transfer and detention with Park
County,

a. Okay. Did you ever have any communication
with Ben from the INS about the conditions of confinement
at the Park County Jail?

A, I don’t remember specifically, but it would
be hard to imagine thal we didn't discuss that.

Q. Bid you ever communicate to Ben at the INS
that you believed the conditions of confinement at Park
County Jail were substandard?

A, Yes.

Q. Approximately how many times did you
communicate that to Ben of the INS?

AY I would just say several. I don't know.

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Qa, Okay. Were those communications in writing
or orally?

A, Orally.

Qo. Bescribe generally what your communications
with Ben about the issue of conditions of confinement at
the Park County Jail being substandard were.

A. Oh, just basically overcrowded,

Q. Okay.

MR, KORDICK: Andrew, can we take a break?
And if you want to go through the Lunch hour, that would
be fine with me, I just need to take a break.

MR. RINGEL: Sure.

MR, KORDICK: Instead of breaking for lunch,
we're willing to -- because We have to get back to
colorada Springs -- I'll do it any Way you want.

MR, RINGEL: Can we go off the record?

(Discussion off the record.)

(Break taken from 12:02 p.m. to 12:40 p.m,}

QO. (BY MR. RINGEL} When we broke for our
Modest break, we were talking about Ben of the INS. You
indicated thal you had complained to Ben of the INS
orally about the conditions of confinement at the Park
County dail?

MR, KORDICK: Objection as to form and

substance, because IT don't think he said “complain." I

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think he just mentioned it or talked about it,
MR. RINGEL: Mr, Kerdick, please refrain
from making a speaking objection.
A. Ben and I discussed the conditions.
Q. {BY MR, RINGEL} How many conversations
would you estimate you had about the conditions at the

Park County Jail with Hen?

A, Several.

Q. In what time frame did these conversations
occur?

A, I don't recall. Ben and I had a job to do,

and, you know, we might have mentioned something here and
there. It wasn't like I went to see him or he came to
see me to discuss the conditions of confinement. It was
just off-the-cuff comments.

a. What is your recollection of Ben’s response
to your raising the issues of the conditions of
confinement with him?

A. I think we just both commiserated on the
volume of individuals we had to process and deal with.
He had his side of it and I had my side of it, and we
conmiserated.

Q. You indicated that you had similar
conversations with someone named Pan with the INS; is

that correct?

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A. Yes.

a. Is there any difference that you -- well,
let me just ask it this way: Describe your conversations
with Dan of the INS about the conditions at the Park
County Jail.

A, I can't recall anything specific. It was
just general comments about, boy, I have a lot of people
to process, a lot of people to hause, you know, it's
tight, it's crowded, you know, is it going to slow down
anytime soon. That kind of stuff.

oO. Do you recall anything else about your
colimunications with Dan from the INS along those line?

AL No,

a. Did you communicate with anyone else fromm
the INS other than Ben or Dan about the conditions of the
Park County Jaii?

A, No.

a. Do you have any sense of the rank of Ben or
Dan at the INS?

A. { have a sense.

Qa. What is your sense?

aA My sense is that they were essentially Field
workers -- guys that made the job happen. They weren't
administrators,

o. During the time that you worked at the Park

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you know, I wish f did, When the INS population was at
its height -- and it might have been during the time in
question with this particular lawsuit -- there was a
forthcoming INS inspection, and I secretly hoped that
they would come when we were packed because -- let's face
it. When the conditions become very, very crowded and
resources are stretched very, very thin, it's not only a
strain and stress on the detainees and the inmates, it's
a tremendous strain on the deputies and staff to make
things work. ‘he tension is very high, the conditions
are very hard on the deppties, Soa I secretly hoped that
INS would inspect and visually see what the heck was
going on in terms of people sieeping on the Floors and it
being very, very crowded and poor ventilation and poor
conditions in general.

And I thought Mz. Gore was rather lucky that
there was this giant movement of 50 inmates out, and then
INS inspected, like, the next day or the day after when
we had ten detainees, and I thought, what a stroke of
luck for Mr, Gore,

Q. Bo you think that INS was not aware of the
number of detainees that they were housing at the Park
County Jail at any particular time?

AL They knew how many inmates were detained.

a. Right.

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A. Yes, they did,

a bid you ever go to any member of the Board
of County Commissioners of Park County to raise your
concerns about the substandard conditions in the Park

County Jail?

A. No.
Q. Why not?
A. As I said, I had a chain of command. I had

a sergeant above me, I had a captain above me who were in
the jail on a daily basis, or nearly. Conditions were
obvious. This is my opinion, It wasn'k something that
you bad ta look very hard to see. Tt was very obvious
what the conditions were, and if this is the type of
place they wanted toe run and they were hiring ine to do a
job, 1 did the best T could.

Q. Okay. Did you ever report your concerns
with the substandard conditions of confinement at the
Park County Jail to the county altorney of Park County al
any time?

A. No,

Qa, Did you ever report your concerns of the
substandard conditions of the Park County Jail to the
sheriff at any time?

A, No,

Q. Did you ever report your concerns of the

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substandard conditions at the Park County Jail to the
undersheriff at any time?

A. No.

a. Did you ever repert your concerns of the
substandard conditions at the Park County Jail to Captain

Gore at any time?

A. Yes.

Q. When?

A. I couldn'(¢ give you an exact date.

Q, Row any times?

A. I don't know how inany times, To clarify, we

spoke about specific issues, I wouldn't go to the
captain and say, oh, boy, this place is herrible, I
wouldn't do that. It was more we need more sheets, we
need more towels, we need more soap, we need more space,
we need the doors fixed, we need the heating fixed, we
need the showers fixed. That kind of stuff

a. Did you ever say anything Lo Captain Gore
along the lines of the following: “I believe the

conditions at the Park County Jail are substandard"?

A. I don't think I did.

Q. Why not?

Aa Because I believed in going through the
chain of command, and I had enough -- my sergeant was

aware of the conditions, we spoke about them frequently,

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and 1 felt it wasn't my place to take it any further

Q. And when your sergeant -~- when you say your
sergeant, who are you referring to?

A. Sergeant Flint.

Q. Describe to me your communications with
Sergeant Flint about the conditions at the Park County
Jail,

A. Well, we worked under those conditions
daily, and, you know, it was -- our needs were discussed,
and the stress level and the conditions were discussed on
an ongoing basis.

2. When you were having these conversations
with Sergeant Flint, did you say anything along the lines
of IT believe the conditions at the Park County Jail are
substandard?

ay I might not have used those exact words, but
I'm sure 1 made that type of estimate or that -- the
general meaning of that clear to him.

Q. Did it ever occur to you that maybe you
should report your concerns of the conditions at the Park
County dail to somebody?

AW Outside of the organization?

Qo. Based on this -- based on our conversaLion
during this deposition, it appears to me -Lhat -- and

correct my summary if I'm wrong -- that the only people

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you raised this issue with were Ben and Dan of the IRS,

Sergeant Flint, and Captain Gore, Am I wrong about that?

A. And coworkers,

a And coworkers. What are the names of Lhose
coviorkers?

A. Edward Allen,

a. Any others?

A. John Thomas.

Oo. Any others?

A. Kim Guerrero.

a. Okay.

A. Let's see, Jack Stanek, who wasn’¢ there at

the time frame of this particular incident. Sergeant
Muldoon,

a. Let's use Sergeant Muldoon as an example,
Describe your communications with Sergeant Muldoon
related to the substandard conditions at the Park County
Jaik. How would you have raised that issue to Sergeant
Muldoon?

AY Simple statements: We got way too many
people in this pod; we need sheets; we need -- would you
get held of Jim and get the damn heating fixed. You
know, those kind of things.

Oo So that's the way you would raise ik to

Sergeant Muldoon and your coworkers? Is that a fair

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context?

A, It’s in the context of trying to make things
as livable as possible with the resources I had.

Q. Did you ever have such a conversation with
William Fikejs?

Aa I would imagine -~ I don't know. I would
imagine that I wight have had a comment, but T couldn't
tell you specifically.

a. Have you ever had such a conversation with
Rod Greeley?

A. Not likely.

oO. Have you ever had such a communication with
Donald Frye?

A, Not Likely.

a. Have you ever had such a communication with
Den Woodward?

A. Yes.

a. Along similar lines as we were talking about

when we used Sergeant Muldoon as an example?

ie Right. Operational issues thal needed to be
improved,
q. So specific operational issues -- and when

you say “operational issues," you're talking about the
heat, the number of sheets, the number of blankets, that

kind of thing?

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A. Correct. And overcrowding in general.

Qa. Do you recall using the word "overcrowding"
with any of your coworkers at the Park County Jail at any
time?

Ay Not specifically.

Qa. When you were working at the Buena Vista
Correctional Facility, was it your responsibility to
comply with ACA standards?

A. It was, yes.

Qo. bid you have any direct responsibility for
waking sure that the facility complied with ACA
standards, or was that someone else's responsibility?

AY No. In my areas of supervision, I had

direct responsibility.

a Okay. Are you aware of whether or nat,
during the 23 years thal you worked at the ~- no, sorry,
the -- yeah, 23 years eight months that you worked at

Buena Vista Correctional Facility, was that facility
always in compliance with ACA standards?

aA No,

Qa. Is it a fair statement that many correction
facilities don't comply with ACA standards?

A. That's a fair statement, yes.

a. And it's a -- is it a fair statement that

ACA standards are aspirational to a certain extent?

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A. Yes, Some are. Some are mandatory, some
are aspirational.

a. Can you describe, if you were going to do a
printout of every ACA standard that would apply to a
correctional facility, how much paper are we talking
about?

ih. We're talking about a file -hat would be
probably half the length of that wall, and so we're
talking, like, 15 foot long by 5 feet high.

Q, Entire file cabinet?

A, Yeah.

Q. So is it fair to say that it sometimes is
difficult to comply with every single ACA standard?

A. Absolutely,

Q, At the time that you worked at the Park
County Jail, it was not ACA accredited; is that correct?

A. That is correct.

a. What does ACA accreditation mean ta you?

A. It maans that a certain amount of -- well,
that the mandatory standards are met and that the -- I
forget what they're called -- discretionary standards are
mostly met, and that attempts are being made for all
Standards to be net.

Q. Does the ACA standards have -- you just
talked about if in three categories, right?

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11/4/2005 Ballantonto, John

COFFMAN REPORTING & LITIGATION SUPPORT, INC. 1440 Blake Street, Suite 320

Denver, Colorada 80202 303,893,0202

November 10, 2005

Mr, John Bellantonio 29025 Pinon Circle Drive

Buena Vista, Colorado 61211

Re: Carranga-Reyes v. Park County, ef al. Deposition of: JOHN BELLANTONIO

Date of Deposition: November 4, 2005 Trial Date: None set

Dear Mr. Bellantonio:

Enclosed is a copy of your deposition taken in the above
matter and the original signature page and amendment sheets for changes, if needed.
After the signature page and amendment sheets have been

signed, have them notarized and return them to. .

this office within 20 days pursuant to Rule 30,

Any charges for your time should be handled through counsel.
Thank you,
Sincerely,

COFFMAN REPORTING

ec: Attending counsel

Beponent

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11/4/2005 Bellantenio, John

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Denver, Colorado 80202 303.893.0202

LLOYD C. KORDEICK, ESQ. 805 South Cascade

Colorado Springs,Colorado 80903

Re: Carranza-Reyes v. Park County, et al. Deposition of: JOHN BELLANTONTO
Date of Deposition: November 4, 2005 Trial Date; None set
Enclosed is:
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ec: Attending counsel

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USDC Colorado Page 7 of 7

other counsel; please append these sealed originals

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“hn

 
